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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

COLONY INSURANCE COMPANY                         §
                                                 §
       Plaintiff                                 §
                                                 §
v.                                               §              Civil Action No. 1:20-CV-474-RP
                                                 §
FIRST MERCURY INSURANCE                          §
COMPANY                                          §
                                                 §
       Defendant                                 §

                       CIC’S MOTION FOR SUMMARY JUDGMENT

       Colony Insurance Company (“CIC”) moves for summary judgment and pursuant to Fed.

R. Civ. P. 56 shows as follows:

                                          I. Introduction

       CIC is entitled to recover the amount it paid to fund a settlement of an underlying lawsuit

against CIC’s and First Mercury’s mutual insured, DL Phillips Construction, Inc. 1 When the

underlying lawsuit was settled, CIC and First Mercury agreed that the question of ultimate liability

for the settlement would be litigated later. Such agreements among insurers are commonplace and

facilitate settlements, which the law encourages.

       CIC had no duty to contribute to the settlement because the claims asserted against DL

Phillips were not covered by the CIC policies. They were, however, covered by First Mercury’s.

Accordingly, as between First Mercury and CIC, First Mercury should have paid the entire

settlement, and CIC is entitled to recover all of its settlement contribution from First Mercury.

There are no genuine issues of material fact, and CIC is entitled to judgment as a matter of law.



1
 The underlying lawsuit was styled Palmer Cravens, LLC v. National Fire Ins. Co. of Hartford, et al.,
Cause No. C-6015-14-F in the 332nd Judicial District Court of Hidalgo County, Texas.


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                                        II. Factual Background

        In November of 2012, DL Phillips 2 contracted with underlying plaintiff Palmer Cravens,

LLC to replace the roof of a VA outpatient clinic in McAllen, Texas, and to perform related work. 3

Palmer’s work was completed in early 2013 and a warranty was issued by the roof manufacturer. 4

No later than March of 2013, the roof and the HVAC system were leaking, and Palmer reported

the leaks to DL Phillips. 5 The leaks continued through 2013, and Palmer eventually retained Rick

Guerra-Prats to inspect the roof and interior of the project. 6 The consultant retained by Guerra-

Prats to inspect the roof for Palmer issued a report dated February 17, 2014, which noted that there

were numerous, serious roof defects causing the leaks. 7 Guerra-Prats obtained two repair estimates

from a roofing subcontractor dated March 3, 2014, one for repairs and another for a re-roof of the

project. 8 On March 4, 2014, Guerra-Prats issued an estimate for repairs to the project, including


2
  DL Phillips’ d/b/a name is Ja-Mar Roofing, so it is often referred to in the underlying trial proceedings as
Ja-Mar.
3
  Ex. 6 (all references to “Exhibits” are to exhibits to this motion, while all references to “Plaintiff’s
Exhibit(s)” are to Palmer’s exhibits in the underlying lawsuit), Test. of Jay Palmer, Reporter’s Record
(“RR”) Vol. 6 at 87:18-25 (CIC 443); Ex. 6, Test. of David Phillips, RR. Vol. 3 at 38:10-25 (CIC 316); Ex.
6, Test. of James McKinney, RR. Vol. 4 at 9:9-16 (CIC 344); Ex. 6, Test. of David Bloomer, RR Vol. 3 at
100:9-22 (CIC 323); Ex. 7-1, Ja-Mar Work Proposal, Pl.’s Ex. 12, RR Vol. 9 at 23 (CIC 476).
4
  Ex. 6, Pl.’s Opening Statement, RR Vol. 2 at 10:14-17 (CIC 307); Ex. 6, Test. of David Phillips, RR Vol.
3 at 46:1-4 (CIC 317); Ex. 6, Test. of David Bloomer, RR Vol. 3 at 102:18-25 (CIC 324); Ex. 6, Test. of
Guadalupe Garza, RR Vol. 4 at 124:25– 125:5 (CIC 362-3); Ex. 6, Test. of David Guerra-Prats, RR. Vol.
5 at 13:12-18 (CIC 414); Ex. 6, Test. of Doug Schneider, RR. Vol. 6 at 17:15-23 (CIC 435); Ex. 6, Test. of
James McKinney, RR. Vol. 4 at 108:1 -9 (CIC 361); Ex. 6, Test. of Doug Schneider, RR Vol. 6 at 17:15-
23 (CIC 435); Ex. 7-3, Ja-Mar Final Invoice, Pl.’s Ex. 20, RR Vol. 9 at 40 (CIC 478). Exs. 7-4 & 22, GAF
Warranty Documents, Pl.’s Exs. 22, 102, RR Vol.3 at 44, Vol. 11 at 45 (CIC 479-80, 744).
5
  Ex. 6, Pl.’s Opening Statement, RR. Vol. 2 at 10:14-17 (CIC 307); Ex. 6, Test. of David Phillips, RR. Vol.
3 at 64:1-66:6 (CIC 318-20); Ex. 6, Test. of Guadalupe Garza, RR. Vol. 4 at 124:10-125:5 (CIC 362-3);
Ex. 6, Test. of Guadalupe Garza, RR. Vol. 4 at 142:24-143:13 (CIC 374-5); Ex. 6, Test. of Doug Schneider,
RR Vol. 6 at 17:24 -19:7 (CIC 435-7); Ex. 7-5, Emails Regarding Post Work Leaks, Pl.’s Ex. 23, RR. Vol.
9 at 46 (CIC 481-91).
6
  Ex. 6, Test. of David Phillips, RR. Vol. 3 at 64:1-66:6 (CIC 318-20); Ex. 6, Test. of Guadalupe Garza,
RR. Vol. 4 at 124:10-125:5 (CIC362-3); Ex. 6, Test. of Guadalupe Garza, RR. Vol. 4 at 125:17-135:19
(CIC 363-73); Ex. 6, Test. of Guadalupe Garza, RR. Vol. 4 at 142:24-143:13 (CIC 374-5); Ex. 6, Test. of
Rick Guerra-Prats, RR Vol. 5 at 10:12-12:9 (CIC 411-13).
7
  Ex. 6, Test. of Rick Guerra-Prats, RR Vol. 5 at 13:4-14:24 (CIC 414-5); Ex. 7-7, Whitten Roof Inspection
Feb. 2014, Pl.’s Ex. 60, RR. Vol. 9 at 195 (CIC 513-5).
8
  Ex. 6, Test. of Guadalupe Garza, RR. Vol. 4 at 151:9-155:18 (CIC380-84); Ex. 6, Test. of Rick Guerra-


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the total reroof. 9 Subsequent estimates for repairs also called for a complete replacement of the

roof and a manufacturer warranty inspection in 2015 — which found no leaks at the time due to

repair work done by Palmer — determined that the issues were Palmer’s responsibility. 10 The

defects with DL Phillips’ work were never properly or completely fixed, 11 and resulting damages

continued to take place until the underlying trial in June 2018. 12

        First Mercury issued liability policies to DL Phillips, one effective from April 21, 2012, to

April 21, 2013, and another effective from April 21, 2013, to April 21, 2014. 13 Each of the First

Mercury policies has a $1 million per occurrence limit of liability. 14 Commerce & Industry




Prats, RR Vol. 5 at 14:25-18:22 (CIC 415-19); Ex. 6, Test. of Jay Palmer, RR Vol. 6 at 103:23-105:7 (CIC
444-6); Ex. 6, Test. of Jay Palmer, RR Vol. 6 at 178:13-18 (CIC 452); Ex. 7-13, Garza March 2014 Roof
Replacement Estimate, Pl.’s Ex. 84 RR Vol. 10 at 171 (CIC 608-9); Ex. 7-14, Garza March 2014 Roof
Repair Estimate, Pl.’s Ex. 85 RR Vol. 10 at 173 (CIC 610-1); Ex. 7-15, Garza Early 2014 Drawing, Pl.’s
Ex. 86 RR Vol. 10 at 175 (CIC 612).
9
  Ex. 6, Test. of Jay Palmer, RR Vol. 6 at 178:13-18 (CIC 452); Ex. 7-9, Guerra-Prats March 2014 estimate,
Pl.’s Ex. 64 (w/o pictures) RR Vol. 9 at 211 (CIC 518-525).
10
   Ex. 6, Test. of Guadalupe Garza, RR. Vol. 4 at 151:9-155:18 (CIC 380-4); Ex. 7-8, Garza Sept. 2014
Estimate, Pl.’s Ex. 62, RR Vol. 9 at 199 (CIC 516-7), Ex. 7-19, Garza Estimate June 11, 2018, Pl.’s Ex. 95,
RR Vol. 11 at 5 (CIC 710-1); Ex. 7-18, Guerra-Prats June 2018 Estimate, Pl.’s Ex. 94, RR Vol. 10 at 198
(CIC 624-709); Ex. 7-10, Guerra-Prats October 3, 2014 Estimate, Pl.’s Ex. 65, RR Vol. 10 at 4 (CIC 526-
601); Ex. 7-26, Garza Increasing Estimates, Pl.’s Ex. 113, RR Vol. 11 at 91 (CIC 783); Ex. 7-23, GAF Jan.
2015 Inspection, Pl.’s Ex. 103, RR Vol. 11 46 (CIC 745-51).
11
   Ex. 6, Pl.’s Opening Statement, RR. Vol. 2 at 17:22-18:20 (CIC 310-1); Ex. 6, Test. of Joel Ortegon, RR.
Vol. 3 at 162:19-167:23 (CIC 334-9); Ex. 6, Test. of James McKinney, RR. Vol. 4 at 79:16-88:21 (CIC
346-355); Ex. 6, Test. of James McKinney, RR. Vol. 4 at 95:3-97:6 (CIC 356-8); Ex. 6, Test. of James
McKinney, RR. Vol. 4 at 103:12-104:4 (CIC 359-60); Ex. 6, Test. of Thomas McCoy, RR. Vol. 4 at 206:4-
8, 208:1-16, 209:5-12; 211:7-214:21, 216:1-223:17, 225:8-231:25 (explaining defects existing at time of
trial) (CIC 385-406); Ex. 6, Test. of Rick Guerra-Prats, RR Vol. 5 at 40:3-41:4 (CIC 426-7); Ex. 6, Test. of
Rick Guerra-Prats, RR Vol. 5 at 41:17-42:17 (CIC 427-8); Ex. 6, Test. of Rick Guerra-Prats, RR Vol. 5 at
50:8-11 (CIC 429); Ex. 6, Test. of Jay Palmer, RR Vol. 6 at 116:2-117:17 (CIC 450-1); Ex. 6, Test. of Jay
Palmer, RR Vol. 6 at 182:15-184:9 (CIC 453-5); Ex. 6, Pl.’s Closing Argument, RR Vol. 8 at 27:22-36:7
(CIC 460-69); Ex. 7-19, Garza June 2018 Estimate, Pl.’s Ex. 95, RR Vol. 11 at 5 (CIC 710-1); Ex. 7-26,
Garza increased estimates, Pl.’s Ex. 113, RR Vol. 11 at 191 (CIC 783); Ex. 7-6, Serve-Pro, Baldwin, et al.
invoices Post Sept. 2014, Pl.’s Ex. 25, RR Vol. 9 at 60 (CIC 492-512); Ex. 7-24, Post Sept. 2014 Photos,
Pl.’s Ex. 105, RR Vol. 11 at 54 (CIC 752-781).
12
   Ex. 6, Pl.’s Offer of Proof, RR Vol. 8 at 65:17-69:25 (CIC 470-4); Exs. 7-27& 28 CD and Photos of June
2018 Damage, Exs. 114 and 115, RR Vol. 11 at p . 92-93 (CIC 784-788).
13
   The first policy was numbered NJ CGL 0000009684-01, the second policy was numbered NJ CGL
0000009684-02. See First Mercury policies, Ex. 2 (CIC 148-264).
14
   Id. (CIC 148, 207).


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Insurance Company (“C&I”) issued a policy effective January 13, 2013, to April 21, 2014, that

was excess of First Mercury’s coverage.

       The first CIC policy incepted on April 21, 2014. 15 Palmer filed suit against DL Phillips on

June 16, 2014. 16 CIC and First Mercury defended DL Phillips under a reservation of rights. After

agreeing to defend, CIC sued DL Phillips seeking a determination that it owed no coverage for

Palmer’s claims. 17 The jury in the underlying lawsuit found in favor of Palmer and a judgment in

excess of $3.7 million was awarded against DL Phillips. 18

       The underlying lawsuit and the CIC coverage lawsuit were mediated together and resolved

for the total sum of $             . 19 Under the settlement, CIC contributed $             , of which

$         was allocated as an indemnity payment and $               was allocated as a supplementary

payment. First Mercury contributed $             , of which $          was allocated as an indemnity

payment and $            was allocated as a supplementary payment. C&I contributed $               , all

of which was an indemnity payment.

       After noting the existence of CIC’s lawsuit filed for the purpose of obtaining a

determination of no coverage, the settlement agreement among DL Phillips, CIC, First Mercury,

and C&I states that CIC and First Mercury reserve the right to pursue claims for re-allocation

and/or reimbursement of all amounts paid to resolve the underlying lawsuit. 20

       CIC contributed to the settlement and reserved the right to seek a declaration that it owed


15
   The first CIC policy was number 103 GL 0003631-00, which was followed by a second policy effective
April 21, 2015 to April 21, 2016, number 103 GL 0003631-01. Each policy had a $1 million per occurrence
limit of liability. See CIC policies, Ex. 1 (CIC 1-147).
16
   Ex. 6, Test. of Rick Guerra-Prats, RR Vol. 5 at 73:9-14 (CIC 430); Ex. 6, Test. of Doug Schneider, RR
Vol. 6 at 49:2-5 (CIC 442).
17
   Confidential Release and Settlement Agreement, Ex. 5 (CIC 280-303).
18
   Judgment, Ex. 3 (CIC 265-268).
19
   Gen. Release & Compromise Settlement Agr., Ex. 4 (CIC 269-279); Confidential Release & Settlement
Agr., Ex. 5 (CIC 280-303).
20
   Ex. 5 at 3 (CIC 282).


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no coverage and that First Mercury should have paid CIC’s share. First Mercury agreed, and

counsel for First Mercury in this lawsuit was involved in the negotiation, drafting, and finalization

of the settlement document memorializing the parties’ agreement.

       This lawsuit, contemplated by the parties’ resolution of the underlying lawsuit, is brought

to determine ultimate responsibility for the settlement of Palmer’s claims against DL Phillips as

between CIC and First Mercury. The CIC policies do not provide coverage for Palmer’s claims,

but the 2012-2013 First Mercury policy does. CIC is therefore entitled to recover from First

Mercury the full amount of its settlement payment.

                               III. Summary Judgment Evidence

       In support of its motion for summary judgment, CIC relies upon the following evidence:

Exhibit 1.     True and correct copies of the relevant CIC policies;

Exhibit 2.     True and correct copies of the relevant First Mercury policies;

Exhibit 3.     A true and correct copy of the underlying Judgment entered against DL Phillips;

Exhibit 4.     A true and copy of the underlying settlement document;

Exhibit 5.     A true and correct copy of the settlement agreement among DL Phillips, CIC, First
               Mercury, and C&I;

Exhibit 6.     Excerpts from trial testimony and proceedings in the underlying lawsuit;

Exhibit 7.     Exhibits offered and admitted at the trial of the underlying lawsuit;

Exhibit 8.     The Affidavit of Matthew Rigney.

                                 IV. Argument and Authorities

       The evidence admitted at the underlying trial proves that the claims asserted against DL

Phillips are not covered by the CIC policies. The same evidence also proves that the claims are

covered by the 2012-2013 First Mercury policy. First Mercury therefore owes CIC $              . First

Mercury’s defense that CIC cannot recover because it was a volunteer is belied by Texas law and



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the parties’ agreement to resolve the question of responsibility for the settlement in this lawsuit.

Its other pleaded defense, that CIC cannot recover because DL Phillips was fully protected, is

patently absurd and likewise unavailing. CIC is entitled to recover its entire $             settlement

contribution from First Mercury.

A.        The claims against DL Phillips were not covered by the CIC Policies

          The CIC policies contain an endorsement titled “Exclusion – Continuous, Progressive or

Repeated – Bodily Injury, Property Damage, or Personal and Advertising Injury,” which provides

in relevant part:

                  A. SECTION I - COVERAGES, COVERAGE A BODILY INJURY
                     AND PROPERTY DAMAGE LIABILITY, 2. Exclusions is amended
                     and the following is added:

                      This insurance does not apply to:

                      1. “bodily injury” or “property damage”, including continuous or
                          progressively deteriorating or repeated “bodily injury” or “property
                          damage”, that first occurs prior to the effective date of this policy;
                      2. “bodily injury” or “property damage”, including continuous or
                          progressively deteriorating or repeated “bodily injury” or “property
                          damage”, that first occurs prior to the effective date of this policy
                          and continues during the policy term;

                      3. “bodily injury” or “property damage”, including continuous or
                          progressively deteriorating or repeated “bodily injury” or “property
                          damage”, that first occurs prior to the effective date of this policy,
                          continues during the policy term, and ends after the expiration date
                          of this policy; or
                      4. “bodily injury” or “property damage”, including continuous or
                          progressively deteriorating or repeated “bodily injury” or “property
                          damage”, that first occurs after the expiration date of this policy.

                      The exclusions in paragraphs 1. through 4. apply regardless of whether
                      such “bodily injury” or “property damage” is known or unknown by
                      any “Insured”, as defined below. 21

                                                  ***


21
     CIC Policies, Ex. 1 (CIC 50, 125)


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The exclusion precludes coverage for damage that begins prior to policy inception and continues

during the policy period. The exclusion also applies to continuous damage that extends beyond the

policy’s expiration. Further, it applies regardless of whether the insured was aware of the damage.

The beginning of damage before the policy’s inception and its progressive and/or continuous

nature trigger the exclusion.

        The evidence admitted at the underlying trial establishes, as a matter of law, that Palmer’s

damages were the result of DL Phillips’ defective roof replacement work, which began to leak

prior to inception of the first CIC policy in April 2014 and continued to leak through the underlying

trial in June 2018. This is all that is required to trigger the exclusion.

        a.       DL Phillips’ Defective 2012-2013 Work Caused Damage Before April 2014

        DL Phillips was contracted to replace the roof on the project in late 2012 and finished its

work in early 2013. 22 Almost immediately after DL Phillips’ work was completed, the roof began

to leak. 23 Palmer notified DL Phillips of the leaks and requested that something be done. 24 But the

problems were never completely or properly fixed and leaks continued throughout 2013. 25 By


22
   Ex. 6, Test. of James McKinney, RR. Vol. 4 at 9:9-16 (CIC 344); Ex. 6, Test. of James McKinney, RR.
Vol. 4 at 108:1-9 (CIC 361); Ex. 6, Test. of Doug Schneider, RR Vol. 6 at 17:15-23 (CIC 435); Ex. 7-1, Ja-
Mar Proposal to Palmer, Pl.’s Ex. 12, RR Vol. 9 at 23 (CIC 476); Ex. 7-3, Ja-Mar’s Final Invoice, Pl.’s Ex.
20, RR Vol. 9 at 4 (CIC 478); Ex. 7-20, Val Tex Ceilling Tile Invoice, Pl.’s Ex. 97, RR Vol. 11 at 8 (CIC
712).
23
   Ex. 6, Pl.’s Opening Statement, RR. Vol. 2 at 10:14-17 (CIC 307); Ex. 6, Test. of Guadalupe Garza, RR.
Vol. 4 at 124:10-125:5 (CIC 362-3); Ex. 6, Test. of Guadalupe Garza, RR. Vol. 4 at 142:24-143:13 (CIC
374-5); Ex. 6, Test. of Doug Schneider, RR Vol. 6 at 17:24-19:7 (CIC 435-7); Ex. 7-5, Emails regarding
Post Work Leaks, Pl.’s Ex. 23, RR Vol. 9 at 46 (CIC 481-91); Ex. 7-7, Whitten Feb. 2014 Report, Pl.’s Ex.
60, RR Vol. 9 at 195 (CIC 513-15).
24
   Ex. 6, Test. of David Phillips, RR. Vol. 3 at 64:1-66:6 (CIC 318-20); Ex. 6, Test. of Doug Schneider, RR
Vol. 6 at 17:24-19:7 (CIC 435-37); Ex. 7-5, Emails Regarding Post Work Leaks, Pl.’s Trial Ex. 23, RR
Vol. 9 at 46 (CIC 481-91).
25
   Ex. 6, Pl.’s Opening Statement, RR. Vol. 2 at 17:22-18:20 (CIC 310-1); Ex. 6, Test. of David Phillips,
RR. Vol. 3 at 64:1-66:6 (CIC 318-20); Ex. 6, Test. of Guadalupe Garza, RR. Vol. 4 at 125:17-135:19 (CIC
363-73); Ex. 6, Test. of Guadalupe Garza, RR. Vol. 4 at 143:17-147:12 (CIC 375-79); Ex. 6, Test. of David
Bloomer, RR Vol. 3 at 102:18-105:11 (CIC 324-7); Ex. 7-7, Whitten Feb. 2014 Report, Pl.’s Ex. 60, RR
Vol. 9 at 195 (CIC 513-15); Exs. 7-13 & 14, Garza Roof Estimates March 3, 2014, Pl.’s Exs. 84 and 85,
RR Vol. 10 at 171 (CIC 608-611).


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March 2014, Palmer had already obtained an estimate for the cost to replace the roof. 26 This was

more than a month before CIC’s policy incepted on April 21, 2014. According to the evidence in

the underlying trial, the problems with DL Phillips’ work were never fixed. 27

        Specifically, the trial testimony, expert reports, and repair estimates calling for a re-roof of

the project (all of which were admitted at the underlying trial and which form the basis for the

award against DL Phillips) conclusively establish that the damage complained of by Palmer began

prior to the inception of the first CIC policy on April 21, 2014.28 If any kind of property damage

is progressive in nature, it is ongoing damage caused by water intrusion. Not only does the



26
   Ex. 6, Test. of Guadalupe Garza, RR. Vol. 4 at 151:9-155:18 (CIC 380-4); Ex. 6, Test. of Rick Guerra-
Prats, RR Vol. 5 at 14:25-18:22 (CIC 415-9); Ex. 6, Test. of Jay Palmer, RR Vol. 6 at 103:23-105:7 (CIC
444-6); Ex. 6, Test. of Jay Palmer, RR Vol. 6 at 178:13-18 (CIC 452); Ex. 7-13 & 14, Garza March 2014
estimates, Pl.’s Exs. 84 and 85, RR Vol. 10 at p . 171 (CIC 608-11); Ex. 7-29, Guerra-Prats March 2014
Estimate, Pl.’s Ex. 64, RR Vol. 9 at 211 (CIC 789-859).
27
   Ex. 6, Pl.’s Opening Statement, RR. Vol. 2 at 17:22-18:20 (CIC 310-1); Ex. 6, Test. of Joel Ortegon, RR.
Vol. 3 at 162:19-167:23 (CIC 334-9); Ex. 6, Test. of James McKinney, RR. Vol. 4 at 79:16-88:21 (CIC
346-55); Ex. 6, Test. of James McKinney, RR. Vol. 4 at 95:3-97:6 (CIC 356-8); Ex. 6, Test. of James
McKinney, RR. Vol. 4 at 103:12-104:4 (CIC 359-60); Ex. 6, Test. of Thomas McCoy, RR. Vol. 4 at 206:4-
8, 208:1-16, 209:5-12 (CIC 385-7), 211:7-214:21, 216:1-223:17, 225:8-231:25 (explaining defects existing
at time of trial) (CIC 388-406); Ex. 6, Test. of Rick Guerra-Prats, RR Vol. 5 at 40:3-41:4 (CIC 426-7); Ex.
6, Test. of Rick Guerra-Prats, RR Vol. 5 at 41:17-42:17 (CIC 427-8); Ex. 6, Test. of Rick Guerra-Prats, RR
Vol. 5 at 50:8-11 (CIC 429); Ex. 6, Test. of Jay Palmer, RR Vol. 6 at 116:2-117:17 (CIC 450-1); Ex. 6,
Pl.’s Closing Argument, RR Vol. 8 at 27:22-36:7 (CIC 460-9); Ex. 7-6, Serve-Pro, Baldwin, et al. Post
Sept. 2014 invoices, Pl.’s Ex. 25, RR Vol. 9 at 60 (CIC 492-512); Ex. 7-8, Garza Sept. 2014 Estimate, Pl.’s
Ex. 62, RR Vol. 9 at 199 (CIC 516-7); Ex. 7-10, Guerra-Prats October 3, 2014 Estimate, Pl.’s Ex. 65, RR
Vol. 10 at 4 (CIC 526-601); Ex. 7-12, Dough Schneider Photographs May 23, 2018, Pl.’s Ex. 75, RR Vol.
10 at 86 (CIC 606-7); Exs. 7-11 & 16, McCoy Photographs Dec. 11, 2016, Pl.’s Exs. 91 & 67, RR Vol. 10
at 186 (CICI 602-5; 613-20); Ex. 7-17, Palmer Photographs January 13, 2015, Pl.’s Ex. 92, RR Vol 10 at
194 (CIC 621-3); Ex. 7-18, Guerra-Prats June 13, 2018 Estimate, Pl.’s Ex. 94, RR Vol. 10 at 198 (CIC 624-
709); Ex. 7-19, Garza June 11, 2018 Estimate, Pl.’s Ex. 95, RR Vol. 11 at 5 (CIC 710-1); Ex. 7-25, Damaged
Metal Decking Shown Dec. 29, 2014, Pl.’s Ex. 110, RR Vol. 11 at 88 (CIC 782); Exs. 7-27 & 28, Pl.’s
Offer of Proof of June 2018 damage, Pl.’s Exs. 114 and 115, RR Vol. 11 at 92 (CIC 784-8).
28
   Ex. 6, Pl.’s Opening Statement, RR. Vol. 2 at 10:14-17 (CIC 307); Ex. 6, Test. of David Phillips, RR.
Vol. 3 at 64:1-66:6 (CIC 318-20); Ex. 6, Test. of Guadalupe Garza, RR. Vol. 4 at 124:10-125:5 (CIC 362-
3); Ex. 6, Test. of Guadalupe Garza, RR. Vol. 4 at 143:17-147:12 (CIC 375-9); Ex. 7-5, Emails Regarding
Post Work Leaks, Pl.’s Ex. 23, RR Vol. 9 at 46 (CIC 481-91); Ex. 7-7, Whitten Feb. 2014 Report, Pl.’s Ex.
60, RR Vol. 9 at 195 (CIC 513-5); Ex. 7-9, Guerra-Prats March 2014 Estimate, Pl.’s Ex. 64 (w/o pictures),
RR Vol. 9 at 211 (CIC 518-525), Exs. 7-13 & 14, Garza Roof Estimates March 3, 2014, Pl.’s Exs. 84 and
85, RR Vol. 10 at 171 (CIC 608-611); Ex. 7-21, Early 2014 Garza Photographs, Pl.’s Ex. 101, RR Vol. 11
at 14 (CIC 713-743).


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summary judgment record prove that the damage of which Palmer complained began prior to

inception of the first CIC policy, but the evidence also establishes conditions had deteriorated so

badly by then that on March 3, 2014, more than a month before the inception of the first CIC

policy, at least one expert had already recommended a complete re-roof of the project. 29

        b.       Damage Caused by DL Phillips’ Defective Work Continued Into the CIC
                 Policy Periods

        Ongoing leaks and resulting damage continued beyond the inception of the first CIC policy

in April 2014. This became most evident in September 2014, when a large rain event caused

extensive interior damage to the project. 30 The damage resulting from that rain event conclusively

established that, despite the roof manufacturer having issued a warranty for the roof in early 2013,

the roof was not properly installed by DL Phillips. 31 Thus, the damage that began prior to the

inception of the first CIC policy continued into and throughout the first CIC policy period. Further,

despite Palmer retaining contractors to attempt repairs to DL Phillips’ defective installation and to




29
   Ex. 6, Test. of Guadalupe Garza, RR. Vol. 4 at 151:9-155:18 (CIC 380-4); Ex. 7-13 & 14, Garza March
3, 2014, Estimates, Pl.’s Exs. 84 and 85, RR Vol. 10 at 171 (CIC 608-11); Ex. 7-9, Guerra-Prats March
2014 Estimate, Pl.’s Ex. 64 (w/o pictures), RR Vol. 9 at 211 (CIC 518-525).
30
   Ex. 6, Pl.’s Opening Statement, RR. Vol. 2 at 10:24-11:15 (CIC 307-8); Ex. 6, Test. of Rick Guerra-
Prats, RR Vol. 5 at 18:23-24:17 (CIC 419-25); Ex. 6, Test. of Doug Schneider, RR Vol. 6 at 19:8-21:6 (CIC
437-9); Ex. 6, Test. of Doug Schneider, RR Vol. 6 at 47:9-48:18 (CIC 440-1); Ex. 6, Test. of Jay Palmer,
RR Vol. 6 at 103:23-105:7 (CIC 444-6); Ex. 6, Test. of Jay Palmer, RR Vol. 6 at 107:10-108:4 (CIC 448-
9); Ex. 7-6, Serve-Pro, Baldwin et al. Post Sept. 2014 invoices, Pl.’s Ex. 25, RR Vol. 9 at 60 (CIC 492-
512); Ex. 7-8, Garza Sept. 23, 2014 Estimate, Pl.’s Ex. 62, RR Vol. 9 at 199 (CIC 516-7); Ex. 7-10, Guerra-
Prats October 3, 2014 Estimate, Pl.’s Exs. 65, RR Vol. 10 at 4 (CIC 526-601); Ex. 7-24, Interior Post Sept.
2014 pictures, Pl.’s Ex. 105 RR Vol. 11 at 54 (CIC 752-781).
31
   Ex. 6, Pl.’s Opening Statement, RR. Vol. 2 at 10:24-11:15 (CIC 307-8); Ex. 6, Test. of David Phillips,
RR. Vol. 3 at 64:1-66:6 (CIC 318-20); Ex. 6, Test. of Guy Hardy, RR. Vol. 3 at 149:2-150:5 (CIC 329-30);
Ex. 6, Test. of James McKinney, RR. Vol. 4 at 15:10-19 (CIC 345); Ex. 6, Test. of Guadalupe Garza, RR.
Vol. 4 at 125:17-135:19 (CIC 363-73); Ex. 6, Test. of Jay Palmer, RR Vol. 6 at 182:15-184:9 (CIC 453-5);
Ex. 7-9, Guerra-Prats March 2014 estimate, Pl.’s Trial Ex. 64 (w/o pictures), RR Vol. 9 at 211 (CIC 518-
525); Ex. 7-17, Palmer January 2015 Roof Photographs, Pl.’s Ex. 92, RR Vol. 10 at 194 (CIC 621-3); Ex.
7-19, Garza June 11, 2018 Estimate, Pl.’s Ex. 95, RR Vol. 11 at 5 (CIC 710-1); Ex. 7-18, June 13, 2018
Guerra-Prats Estimate, Pl.’s Ex. 94, RR Vol. 10 at 198 (CIC 624-709); Ex. 7-11, McCoy Dec. 11, 2016
Photographs, Pl.’s Ex. 67 RR Vol. 10 at 80 (CIC 602-5);


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repair the extensive damage to the interior of the project, 32 the problems were never properly or

completely fixed. The water intrusion and resulting damage continued through the time of the

underlying trial, which took place in June 2018. 33

        c.      The Continuous Damage Exclusion in the CIC Polices Precludes Coverage

        DL Phillips’ work was defective from the start. That work was completed in early 2013,

more than a year before the inception of the first CIC policy in April 2014. The evidence admitted

in the underlying trial establishes that the leaks and resulting damage from that defective work

began prior to the inception of the first CIC policy and continued throughout CIC’s time on the

risk. The continuous and progressive damage exclusion in the CIC policies precludes coverage for

damage that begins prior to policy inception, even if that damage continues into and beyond the

policy period. Such is exactly the factual scenario proven in the underlying trial. Therefore, the

exclusion in the CIC policies is trigged, and the policies do not cover Palmer’s claims against DL

Phillips.34

        Because the CIC policies did not cover the repair cost and lost rent damages awarded

against DL Phillips, the policies likewise did not furnish coverage for the pre-judgment or post-

judgment interest awarded. In other words, not only was CIC’s $                 indemnity payment not

covered, but there was no coverage for the $              settlement contribution by CIC allocated as


32
   Ex. 6, Test. of Guadalupe Garza, RR. Vol. 4 at 125:17-135:19 (CIC 363-73); Ex. 6, Test. of Jay Palmer,
RR Vol. 6 at 182:15-184:9 (CIC 453-55); Ex. 7-6, Serve-Pro, Baldwin et al. invoices, Pl.’s Exs. 25, RR
Vol. 9 at 60 (CIC 492-512).
33
   Ex. 6, Pl.’s Offer of Proof, RR Vol. 8 at 65:17-69:25 (CIC 470-4); Exs. 7-27 & 28, June 2018 Damage,
Pl.’s Exs. 114 and 115, RR Vol. 11 at 92 (CIC 784-8).
34
   Cf., Evanston Ins. Co. v. DCM Contracting, Inc., 441 F.Supp.3d 1336, 1344 (N.D. Ga. 2020) (similar
exclusion enforced where property damage began before policy’s effective date); Starr Surplus Ins. Co. v.
Cushing Hospitality, LLC, 2021 WL 1093100 at *8-9 (W.D. Okla., March 22, 2021) (exclusion enforced
where property damage existed or was in the process of taking place prior to policy inception); Developers
Sur. & Indem. Co. v. View Point Builders, Inc. 2020 WL 3303046 at * 3-4 (W.D. Wash., June 17, 2020)
(exclusion enforced where construction defect existed prior to policy inception); Saarman Const., Ltd. v.
Ironshore Specialty Ins. Co., 230 F.Supp.3d 1068, 1081-84 (N.D. Cal. 2017) (similar exclusion enforced
where work completed prior to policy inception date).


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a supplementary payment. 35 The evidence, however, demonstrates that the 2012-2013 First

Mercury policy covered the underlying claims.

B.      First Mercury’s 2012-2013 Policy Covered Palmer’s Claims Against DL Phillips

        The underlying trial evidence proves that coverage under the 2012-2013 First Mercury

policy was triggered. This evidence also shows that the continuous or progressive injury and

damage exclusion contained in that First Mercury policy does not apply. Finally, because the

amount of covered damages proven and awarded at the trial

                                              , there is no question that CIC’s entire settlement

contribution represents amounts covered by First Mercury. CIC is therefore entitled to recover its

entire settlement contribution.

        a.      The 2012-2013 First Mercury Policy was Triggered by Covered Damages

        Just after DL Phillips completed its work in early 2013, the roof of the project began to

leak. 36 The defective nature of DL Phillips’ performance and the ongoing nature of the water

intrusion was such that Palmer obtained an estimate for a complete re-roof of the project. 37 Palmer

later retained a roofing contractor to attempt temporary repairs and to clean up and perform interior

repairs after a particularly large water intrusion event in September 2014, 38 but the problems with


35
   See CIC policies, Ex. 1 (CIC 18, 92).
36
   Ex. 6, Pl.’s Opening Statement, RR. Vol. 2 at 10:14-17 (CIC 307); Ex. 6, Test. of David Phillips, RR.
Vol. 3 at 64:1-66:6 (CIC 318-20); Ex. 6, Test. of Guadalupe Garza, RR. Vol. 4 at 124:10-125:5 (CIC 362-
3); Ex. 6, Test. of Guadalupe Garza, RR. Vol. 4 at 142:24-143:13 (CIC 374-5); Ex. 6, Test. of Doug
Schneider, RR Vol. 6 at 17:24-19:7 (CIC 435-7); Ex. 7-5, Emails regarding Post Work Leaks, Pl.’s Ex. 23,
RR Vol. 9 at 46 (CIC 481-91).
37
   Ex. 6, Test. of Rick Guerra-Prats, RR Vol. 5 at 14:25-18:22 (CIC 415-9); Ex. 7-13, Garza March 2014,
Roof Replacement Estimate, Pl.’s Ex. 84, RR Vol. 10 at 171 (CIC 608-9); Ex. 7-9, Guerra-Prats March
2014 estimate, Pl.’s Ex. 64 (w/o pictures), RR Vol. 9 at 211 (CIC 518-25).
38
   Ex. 6, Pl.’s Opening Statement, RR. Vol. 2 at 10:24-11:15 (CIC 307-8); Ex. 6, Test. of Guadalupe Garza,
RR. Vol. 4 at 151:9-155:18 (CIC 380-4); Ex. 6, Test. of Rick Guerra-Prats, RR Vol. 5 at 18:23-24:17 (CIC
419-25); Ex. 6, Test. of Doug Schneider, RR Vol. 6 at 19:8-21:6 (CIC 437-9); Ex. 6, Test. of Doug
Schneider, RR Vol. 6 at 47:9-48:18 (CIC 440-1); Ex. 6, Test. of Jay Palmer, RR Vol. 6 at 103:23-105:7
(CIC 444-6); Ex. 6, Test. of Jay Palmer, RR Vol. 6 at 107:10-108:4 (CIC 448-9); Ex. 7-6, Serve-Pro,
Baldwin et al. invoices, Pl.’s Ex. 25, RR Vol. 9 at 60 (CIC 492-512); Ex. 7-8, Garza Sept. 23, 2014 New


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the roof installed by DL Phillips in 2012-2013 were never resolved. 39

        The roof installed by DL Phillips began to leak in early 2013, during First Mercury’s time

on the risk. Therefore, the 2012-2013 First Mercury policy was triggered by covered property

damage. 40 Because all of the damage recovered by Palmer was caused by DL Phillips’ defective

performance, which was one occurrence, and because the beginning of that damage took place

during First Mercury’s time on the risk, the triggered 2012-2013 First Mercury policy provides

coverage for all of the damages resulting from that occurrence up to its $1 million limit, even

though some of the damage actually took place subsequent to the expiration of that policy.

        Texas law applies an “all sums” approach to an insurer’s liability under a triggered policy.

A triggered policy must respond up to its limit of liability for all sums the insured is legally

obligated to pay because of property damage that triggers coverage. 41 Accordingly, even though

much of the damage took place after First Mercury’s time on the risk expired, under the “all sums”



Roof Estimate, Pl.’s Ex. 61, RR Vol. 9 at 199 (CIC 516-7); Ex. 7-24, Pictures of Interior Damage Post Sept.
2014, Pl.’s Ex. 105, RR Vol. 11 at 54 (CIC 752-781); Ex. 7-10, Guerra-Prats October 3, 2014 Estimate,
Pl.’s Ex. 65, RR Vol. 10 at p . 4 (CIC 526-601).
39
   Ex. 6, Pl.’s Opening Statement, RR Vol. 2 at 17:22-18:20 (CIC 310-1); Ex. 6, Test. of Joel Ortegon, RR.
Vol. 3 at 162:19-167:23 (CIC 334-9); Ex. 6, Test. of James McKinney, RR. Vol. 4 at 79:16-88:21 (CIC
346-55); Ex. 6, Test. of James McKinney, RR. Vol. 4 at 95:3-97:6 (CIC 356-8); Ex. 6, Test. of James
McKinney, RR. Vol. 4 at 103:12-104:4 (CIC 359-60); Ex. 6, Test. of Thomas McCoy, RR. Vol. 4 at 206:4-
8, 208:1-16, 209:5-12 (CIC 385-7), 211:7-214:21, 216:1-223:17, 225:8-231:25 (explaining defects existing
at the time of trial) (CIC 388-406); Ex. 6, Test. of Rick Guerra-Prats, RR. Vol. 5 at 40:3-41:4 (CIC 426-7);
Ex. 6, Test. of Rick Guerra-Prats, RR. Vol. 5 at 41:17-42:17 (CIC 427-8); Ex. 6, Test. of Rick Guerra-Prats,
RR Vol. 5 at 50:8-11 (CIC 429); Ex. 6, Test. of Jay Palmer, RR. Vol. 6 at 116:2-117:17 (CIC 450-1); Ex.
6, Test. of Jay Palmer, RR. Vol. 6 at 182:15-184:9 (CIC 453-5); Ex. 6, Pl.’s Closing Argument, RR. Vol. 8
at 27:22-36:7 (CIC 460-9); Ex. 7-18, Guerra-Prats June 13, 2018 Estimate, Pl.’s Ex. 94, RR Vol. 10 at 198
(CIC 624-709); Ex. 7-19, Garza June 11, 2018 Estimate, Pl.’s Ex. 95, RR Vol. 11 at 5 (CIC 710-1); Ex. 7-
11 & 16, McCoy Dec. 11, 2016, Photographs, Pl.’s Exs. 91 and 67, RR Vol. 10 at 80, 186 (CIC 602-5; 613-
20); Exs. 7-27 & 28, Pl.’s Offer of Proof, Pl.’s Exs. 114 and 115, RR Vol. 11 at 92-93 (CIC 784-8).
40
   See Don’s Building Supply, Inc. v. OneBeacon Ins. Co., 267 S.W.3d 20, 23-24 (Tex. 2008) (adopting
“injury in fact” trigger of coverage in property damage cases, whereby a liability policy is triggered when
covered property damage takes place during the policy); Cent. Mut. Ins. Co. v. KPE Firstplace Land, LLC,
271 S.W.3d 454, 460 (Tex. – App. Tyler 2008, no pet.) (damage “occurs” when property becomes
damaged).
41
   Am. Physicians Ins. Exch. v. Garcia, 876 S.W.2d 842 (Tex. 1994); CNA Lloyds of Texas v. St. Paul Ins.
Co., 902 S.W.2d 657, 660 (Tex. App.—Austin 1995, writ dism’d by agr.)


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approach applied by Texas law the 2012-2013 First Mercury policy furnished coverage to DL

Phillips for all of the damages awarded in the underlying lawsuit up to its $1 million limit.42

        Texas law allows a paying insurer to reallocate liability among all triggered policies based

on when property damage actually took place under an injury-in-fact analysis. 43 But that is of no

aid to First Mercury here because, in order to allocate damage to a particular policy, coverage

under that policy must exist. In this case, due to CIC’s continuous property damage exclusion

discussed above, CIC provided no coverage for the damages recovered by Palmer. 44 The triggered

First Mercury policy was the only policy that furnished coverage for Palmer’s claims against DL

Phillips. Thus, First Mercury bears full responsibility for the settlement contribution paid by CIC.

        b.      The Continuous Damage Exclusion in the 2012-2013 First Mercury Policy
                Does Not Apply

        In order for the progressive injury exclusion in the 2012-2013 First Mercury policy to

apply, the damage in question must have begun prior to inception of the policy. 45 If damage begins

before policy inception, whether or not it is known by the insured, the First Mercury exclusion

applies regardless of whether the damage first took place, in whole or in part, prior to policy

inception and regardless of whether it continues during the policy period.

        The requirements of the First Mercury exclusion are not met. DL Phillips’ work was started

and completed during the 2012-2013 policy, and the damage began during that policy period,

almost immediately after DL Phillips completed its work. 46 Coverage under the First Mercury


42
   See Mid-Continent Cas. Co. v. Castagna, 410 S.W.3d 445, 454 (Tex. App.—Dallas 2013, pet. denied)
(triggered policy required to respond up to limits); Lennar Corp. v. Markel Am. Ins. Co., 413 S.W.3d 750,
759 (Tex. 2013) (triggered policy covered total amount of loss, not just loss during the policy period).
43
   Lennar Corp., 413 S.W.3d at 759; Don’s Building, 267 S.W.3d at 32 n.45.
44
   CIC policies, Ex. 1 (CIC 50, 125).
45
   First Mercury 2012-2013 policy, Ex. 2 (CIC 185).
46
   Ex. 6, Pl.’s Opening Statement, RR. Vol. 2 at 10:14-17 (CIC 307); Ex. 6 Test. of David Phillips, RR.
Vol. 3 at 64:1-66:6 (CIC 318-20); Ex. 6, Test. of Guadalupe Garza, RR. Vol. 4 at 124:10-125:5 (CIC 362-
3); Ex. 6, Test. of Guadalupe Garza, RR. Vol. 4 at 125:17-135:19 (CIC 363-73); Ex. 6 Test. of Doug


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policy was therefore triggered and its continuous damage exclusion is inapplicable. Under Texas

law, First Mercury’s triggered 2012-2013 policy must respond up to its full $1 million limits.

        c.      The Full Amount of CIC’s Contribution Represents Damages Covered by
                First Mercury

        Any argument by First Mercury that coverage under its policy to the extent of CIC’s

settlement contribution is not established by the evidence admitted in the underlying trial fails as

a matter of law. The underlying judgment totaled $3,665,986.30, not including post-judgment

interest. 47 The settlement of the underlying lawsuit totaled $            . 48 The evidence, as a matter

of law, establishes at least $1,000,000 in damages covered by the First Mercury policy. For

example, Palmer was awarded $1.8 million in lost rents caused by its inability to lease the building

after the VA left when its lease expired, due to the building’s damaged condition. 49 This $1.8

million amount                                                                            and therefore

establishes damage covered under the First Mercury policy

                                       . 50 The $600,000 awarded to replace the roof and repair the

consequential damage is also covered.

        d.      The 2012-2013 First Mercury Policy Otherwise Furnishes Coverage for the
                Settlement

        The loss of use of the building is “property damage” under the First Mercury policy, which



Schneider, RR Vol. 6 at 17:24-19:7 (CIC 435-7); Ex. 7-5, Emails Regarding Post Work Damage, Pl.’s Ex.
23, RR Vol. 9 at 46 (CIC 481-91),Ex. 7-3, Ja-Mar Final Invoice, Pl.’s Ex. 20 RR Vol. 9 at 40 (CIC 478).
47
   Judgment, Ex. 3 (CIC 265-8).
48
   Gen. Release & Compromise Settlement Agr., Ex. 4 (CIC 269-279).
49
   Judgment, Ex. 3 (CIC 265-8).
50
   Not only is the full $       indemnity contribution by CIC covered under First Mercury’s policy, but
the entire $         supplementary payment contribution by CIC is also covered. Like the CIC policies, the
First Mercury policy pays supplementary payments in addition to policy limits. First Mercury 2012-2013
policy, Ex. 2 (CIC 159). The underlying judgment included $590,986.30 in pre-judgment interest, which
                                                                                              . Judgment,
Ex. 3 (CIC 267). Therefore, CIC is entitled to recover its $         supplementary payment contribution
from First Mercury.


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defines the term to include loss of use of tangible property that is not physically injured. 51 The

building in question was physically injured. Additionally, those portions of the rest of the building

that were not physically injured do not constitute “impaired property,” which is defined as property

other than the insured’s work that cannot be used or that is less useful due to the presence of the

insured’s work if it can be restored to use by the repair or replacement of the insured’s work. 52

Because water intrusion damaged the remainder of the building, and it could not be repaired or

restored to use by the repair or replacement of DL Phillips’ work, the new roof, the remainder of

the building does not constitute “impaired property.” 53 Exclusion m in the First Mercury policy

therefore does not apply. The $1.8 million awarded to Palmer for loss of use of the building is

covered by First Mercury. This element of damage alone is sufficient to establish covered damages

under the First Mercury policy                                                              .

        DL Phillips’ work was completed in early 2013, and leaks began immediately. 54 Thus, the

claim fell within the “products-completed operations hazard” as that term is defined in the First

Mercury policy. 55 Exclusion l precludes coverage for damage to the insured’s work that falls

within the product-completed operations hazard. But the exclusion does not apply if the damaged


51
   First Mercury 2012-2013 policy, Ex. 2 (CIC 166).
52
   Id. (CIC 164).
53
   Property must be capable of being restored to use by the repair or replacement of the insured’s work in
order to be “impaired property.” Unlike here, where the property is not physically injured or can be restored
to use only by the repair of the insured’s work, exclusion m applies. See U.S. Metals, Inc. v. Liberty Mut.
Group, Inc., 490 S.W.3d 20, 28 (Tex. 2015) (diesel units restored to use by replacing insured’s work were
“impaired property”); Admiral Ins. Co. v. H&W Indus. Servs., 2011 WL 318277, at *5 (W.D. Tex., Feb. 1,
2011) (exclusion m applied to expenses arising from removal of insured’s defective products); Colony Ins.
Co. v. Rentech Boiler Systems, Inc., 2018 WL 1442740 (N.D. Tex., March 1, 2018) (exclusion m precluded
coverage for processing facility rendered less useful because generator supplied by insured did not work as
agreed).
54
   Ex. 6, Pl.’s Opening Statement, RR. Vol. 2 at 10:14-17 (CIC 307); Ex. 6, Test. of David Phillips, RR.
Vol. 3 at 64:1-66:6 (CIC 318-20); Ex. 6, Test. of Guadalupe Garza, RR. Vol. 4 at 124:10-125:5 (CIC 362-
3); Ex. 6, Test. of Guadalupe Garza, RR. Vol. 4 at 142:24-143:13 (CIC 374-5); Ex. 6, Test. of Doug
Schneider, RR Vol. 6 at 17:24-19:7 (CIC 435-7); Ex. 7-5, Emails Regarding Post Work Damage, Pl.’s Ex.
23, RR Vol. 9 at 46 (CIC 481-91).
55
   First Mercury policy, Ex. 2 (CIC 166). Ex. 6, Test. of Doug Schneider, RR Vol. 6 at 17:15-23 (CIC 435).


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work or the work out of which the damage arises was performed by a subcontractor. 56 The

evidence admitted at the underlying trial establishes that DL Phillips subcontracted with Guy

Hardy to perform the roof replacement and that Hardy, in turn, subcontracted with Joel Ortegon to

perform most of the actual roof installation. 57 Because exclusion l does not apply due to the work

being performed by DL Phillips’ subcontractors, the cost to replace the roof is covered by the First

Mercury policy.

        The other element of damage to the building recovered by Palmer was to the remainder of

it, other than the roof, caused by water intrusion. 58 This is unquestionably “property damage”

caused by an “occurrence” to which no First Mercury exclusion applies. The remainder of the

building was not DL Phillips’ work. The exclusions in the CGL policy apply to preclude coverage

for damage to the insured’s work and ensure that the insurer is not a guarantor of the insured’s

performance. However, when an insured’s defective performance causes damage to property that

is outside of the insured’s scope of work, such damage is covered by liability insurance. 59 The

damages to the non-roof portions of the VA outpatient clinic caused by water intrusion from DL

Phillips’ defectively installed roof are therefore covered by the First Mercury policy.

C.      CIC’s Settlement Contribution Was Not a Voluntary Payment

        Texas law does not require that CIC actually provide coverage for the claims asserted

against DL Phillips in order for CIC to recover from First Mercury. All Texas law requires to


56
   See e.g., Pine Oak Builders Co., Inc. v. Great Am. Lloyds Ins. Co., 279 S.W.3d 650, 655 (Tex. 2009);
Building Specialties, Inc. v. Liberty Mut. Fire Ins. Co., 712 F.Supp.2d 628, 647-651 (S.D. Tex. 2010);
Lamar Homes, Inc. v. Mid-Continent Cas. Co., 242 S.W.3d 1, 11-12 (Tex. 2007).
57
   Ex. 6, Test. of David Bloomer, RR Vol. 3 at 90:7-91:25 (CIC 321-2);Ex. 6, Pl.’s Opening Statement, RR.
Vol. 2 at 12:3-22 (CIC 309); Ex. 6, Test. of Guy Hardy, RR. Vol. 3 at 120:5-20 (CIC 328); Ex. 6, Test. of
Joel Ortegon, RR. Vol. 3 at 155:19-156:14 (CIC 331-2); Ex. 6, Test. of Joel Ortegon, RR. Vol. 3 at 160:5-
18 (CIC 333); Ex. 7-2, Contract Between Guy Hardy and Ortegon, Pl.’s Ex. 14, RR. Vol. 9 at 25 (CIC 477).
58
   Ex. 6, Test. of Jay Palmer, RR Vol. 6 at 106:16-21 (CIC 447); Judgment, Ex. 3 at 2 (CIC 266).
59
   See e.g., Wilshire Ins. Co. v. RJT Const., LLC, 581 F.3d 220, 226 (5th Cir. 2009); Pine Oak Builders, 279
S.W.3d at 655; Lamar Homes, 242 S.W.3d at 8-16.


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permit recovery is a potential that coverage was available. 60 The presumption against voluntary

payments and the summary judgment evidence more than satisfy the threshold for overcoming

First Mercury’s voluntary payment defense. 61

        Under Texas law, “[a]n insurer who pays a third-party claim against its insured is not a

volunteer if the payment is made in good faith and under a reasonable belief that the payment is

necessary to its protection.” 62 The Texas Supreme Court disfavors application of the “voluntary

payment” defense to a settling insurer’s subrogation claims, stating as follows:

            If an insurance company’s right to subrogation could be challenged by the
            wrongdoer on the grounds that the policy did not actually provide coverage, it would
            necessarily be in the company’s interest to litigate all questionable claims with its
            insured. The effect of ignoring the reasonable belief rule, therefore, is to discourage
            insurance companies from paying or settling disputed claims and thereby force
            insureds more often into litigation with their insurers. [This] conception of the
            volunteer doctrine is bad public policy, and we decline to adopt it.

Keck, 20 S.W.3d at 703 (citations omitted). The summary judgment evidence establishes that CIC

made a payment to settle the claims against DL Phillips in good faith to protect its insured from a

large judgment in excess of available insurance limits. 63 Under these circumstances and applicable

Texas law, CIC’s settlement payment was not voluntary as a matter of law.

        Further, First Mercury’s voluntary payment defense defies its express agreement with CIC

to fund the underlying settlement and to litigate their coverage dispute. 64 First Mercury’s position

that CIC’s claim is precluded by the voluntary payment doctrine is directly contrary to the parties’

express agreement and their intent to resolve their coverage dispute after settling the underlying


60
   Keck, Mahin & Cate v. Nat’l Union Fire Ins. Co. of Pittsburgh, Pa., 20 S.W.3d 692, 703 (Tex. 2000).
61
   Keck, 20 S.W.3d at 702 (noting presumption against voluntary payments).
62
   Keck., 20 S.W.3d at 702; see also Colony Ins. Co. v. Peachtree Const., Ltd., 647 F.3d 248, 256 (5th Cir.
2011) (“Texas courts have been liberal in their determination that payments were made involuntarily.”)
(Texas law); Colony Ins. Co. v. First Mercury Ins. Co., No. CV H-18-3429, 2020 WL 5658662, at *4 (S.D.
Tex. Sept. 22, 2020) (rejecting identical First Mercury argument).
63
   Confidential Settlement, Ex. 5 (CIC 280-303); Judgment, Ex. 3 (CIC 265-268).
64
   Confidential Settlement, Ex. 5 (CIC 280-303).


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lawsuit. Texas law both allows and encourages such agreements among insurers.

D.      DL Phillips’ Full Protection Does Not Preclude Recovery by CIC

        First Mercury’s remaining defense, that CIC cannot recover because a fully protected

insured has no right to recover an additional pro-rata portion of a settlement payment from another

paying insurer, fails as a matter of law. Presumably, First Mercury relies on Mid-Continent Ins.

Co. v. Liberty Mut. Ins. Co. 65 as the basis for its argument. The Fifth Circuit hasrejected the

argument that Mid-Continent precludes subrogation claims whenever the insured is fully

indemnified. 66 Additionally, Mid-Continent does not help First Mercury here for at least three

reasons.

        First, CIC does not attempt to recover because it believes it paid a larger percentage of the

underlying settlement than it should have. Rather, CIC contends that it was not obligated to pay

any of the underlying settlement because its policy did not cover the judgment against DL Phillips.

For Mid-Continent to apply, each insurer must have acknowledged its duty to defend and

indemnify. 67 Here, CIC contended that it had no coverage for the underlying claims and filed suit

against DL Phillips to obtain a no-coverage determination. 68 The purpose of subrogation is to cause

a loss to fall on the proper party. Because CIC’s policy did not cover the underlying claims, the

entire underlying settlement should have been paid by First Mercury. This case is therefore

factually distinguishable from Mid-Continent, whose rule of no recovery does not apply.

        Second, nothing in Texas law prohibits insurers from resolving a claim and agreeing to

litigate the ultimate liability for that resolution later. 69 That is exactly the situation here. CIC and


65
   236 S.W.3d 765 (Tex. 2007) (“Mid-Continent”).
66
   See Amerisure Ins. Co. v. Navigators Ins. Co., 611 F.3d 299, 306-07 (5th Cir. 2010).
67
   See Empr’rs Ins. Co. of Wausau v. Penn-America Ins. Co., 705 F.Supp.2d 696, 707-10 (S.D. Tex. 2010)
(Mid-Continent limited to situation where insurers did not dispute that both covered the loss).
68
   Confidential Settlement, Ex. 5 (CIC 280-303).
69
   Cf., In re Farmers Tex. Cty. Mut. Ins. Co., 2021 WL 1583878 at *6 (Tex., April 23, 2021); Excess


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First Mercury agreed to their respective settlement contributions and, in that very same agreement,

specifically provided that ultimate responsibility for the settlement would be resolved in this

litigation. The parties’ agreement to determine ultimate responsibility for the underlying settlement

in this lawsuit removes this case from the purview of the rule announced in Mid-Continent.

        Finally, Mid-Continent’s rationale applies only to overlapping co-primary policies. The

underlying claim in Mid-Continent was a personal injury lawsuit. Both settling insurers’ policies

were in effect at the time of the injury and therefore furnished the same coverage. 70 Here, the First

Mercury and CIC policies do not overlap. CIC’s time on the risk as the insurer for DL Phillips

began on April 21, 2014. 71 Its policy excludes damages beginning before that time and continuing

into the policy period, per the continuous property damage exclusion. First Mercury’s policy, on

the other hand, covers damages that began during its time on the risk and prior to the inception of

the CIC policy. 72 Where policies do not overlap in terms of time on the risk and continuous damage

is involved, the rule of Mid-Continent is inapplicable. 73 Because the First Mercury and CIC

policies do not provide the same coverage, First Mercury’s defense fails as a matter of law.

                                           V. Conclusion

        CIC did not provide coverage for DL Phillips’ liability in the underlying lawsuit, but First

Mercury did. Pursuant to Texas law and the parties’ agreement to determine responsibility for the

underlying settlement in this litigation, CIC is entitled to recover from First Mercury, whose




Underwriters at Lloyd’s, London v. Frank’s Casing Crew & Rental Tools, Inc., 246 S.W.3d 42, 43 (Tex.
2008); Tex. Ass’n of Counties Cty. Gov.’t Risk Mgmt. Pool v. Matagorda Cty., 52 S.W.3d 128, 135 (Tex.
2000) (all discussing agreements to resolve coverage disputes after underlying settlements.)
70
   Mid-Continent, 236 S.W.3d at 768-69.
71
   Compare CIC policies, Ex. 1 (CIC 1-147), with First Mercury policies, Ex. 2 (CIC 148-264).
72 First Mercury 2012-2013 policy, Ex. 2 (CIC 148-206).
73 See Md. Cas. Co. v. Acceptance Indem. Ins. Co., Case No. A-08-CA-697-SS, 2009 U.S. Dist. LEXIS
105285, at * 11-17 (W. D. Tex. May 14, 2009) aff’d, 639 F.3d 701 (5th Cir. 2011) (fact that policies did
not provide overlapping or common coverage meant that contractual subrogation claim was not barred).


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defenses fail as a matter of law. Because the entire underlying settlement should have been funded

by First Mercury, CIC is entitled to recover its $         settlement contribution. The Court should

therefore grant CIC’s motion for summary judgment.

       WHEREFORE, PREMISES CONSIDERED, CIC prays that its motion for summary

judgment be granted, and for such other and further relief, both at law and in equity, as it may

show itself justly entitled and for which it shall ever pray.

                                               Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

       I hereby certify that on September 2, 2021, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send notification of such filing to all counsel

of record.

                                               /s/ Matthew Rigney
                                               Matthew Rigney




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